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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

                                   6
                                        RIANA BUFFIN, et al.,
                                   7                                                       Case No. 15-cv-04959-YGR
                                                       Plaintiffs,
                                   8
                                                v.                                         ORDER SETTING BRIEFING SCHEDULE AND
                                   9                                                       HEARING DATE
                                        CITY AND COUNTY OF SAN FRANCISCO, et
                                  10    al.,                                               Re: Dkt. Nos. 2, 7

                                  11                   Defendants.

                                  12           Per agreement of the parties, the Court SETS the following briefing schedule on plaintiffs’
Northern District of California
 United States District Court




                                  13   Motion for Preliminary Injunction (Dkt. No. 2) and Motion to Certify Class (Dkt. No. 7):
                                  14           Motion for Preliminary Injunction
                                  15           Defendants’ Response:        November 23, 2015
                                               Plaintiffs’ Reply:           December 2, 2015 by noon
                                  16
                                               Motion to Certify Class
                                  17           Defendants’ Response:         November 13, 2015
                                               Plaintiffs’ Reply:            November 20, 2015
                                  18
                                       The Court further SETS a hearing on both motions to be held on Wednesday, December 16, 2015
                                  19
                                       at 9:30 a.m. in Courtroom 1 of the United States Courthouse located at 1301 Clay Street in
                                  20
                                       Oakland, California.
                                  21
                                               Also per agreement of the parties, defendants’ deadline to respond to the complaint shall
                                  22
                                       be November 23, 2015.
                                  23
                                               IT IS SO ORDERED.
                                  24
                                       Dated: November 4, 2015
                                  25
                                                                                      ______________________________________
                                  26
                                                                                            YVONNE GONZALEZ ROGERS
                                  27                                                   UNITED STATES DISTRICT COURT JUDGE

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